8:06-cr-00023-JFB-FG3           Doc # 160       Filed: 02/04/10      Page 1 of 3 - Page ID # 363


                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 8:06cr23-003

                                                        USM Number 20556-047

JEREMY TORPY
                       Defendant
                                                        JESSICA P. DOUGLAS
                                                        Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of the mandatory condition which states the defendant
shall not unlawfully possess controlled substance, special conditions 4 & 7 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:

                                                                                  Date Violation
        Violation Number                      Nature of Violation                  Concluded


                2                  Controlled substance use                  October 30, 2008

                5                  Failure to complete treatment             January 8, 2009

                6                  Failure to submit urinalysis              January 7, 2009

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 1, 3 and 4 of the Petition are dismissed on the motion of the United States as to this
defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal pursuant
to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such
Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.

                                                                     Date of Imposition of Sentence:
                                                                                   February 3, 2010

                                                                               s/ Joseph F. Bataillon
                                                                         United States District Judge

                                                                                    February 4, 2010
 8:06-cr-00023-JFB-FG3          Doc # 160      Filed: 02/04/10    Page 2 of 3 - Page ID # 364


Defendant: JEREMY TORPY                                                                   Page 2 of 3
Case Number: 8:06cr23-003


                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of eighteen (18) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.       Defendant shall be given credit for time served.

         (x) The defendant is remanded to the custody of the United States Marshal.

                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                            _____________________________
                                                                    Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                       __________________________________
                                                              UNITED STATES WARDEN

                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                       __________________________________
                                                              UNITED STATES WARDEN


                                                    By:__________________________________
    8:06-cr-00023-JFB-FG3          Doc # 160        Filed: 02/04/10   Page 3 of 3 - Page ID # 365


Defendant: JEREMY TORPY                                                                    Page 3 of 3
Case Number: 8:06cr23-003


                                       SUPERVISED RELEASE

No term of Supervised Release to follow.

.
                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                         Total Fine                Total Restitution
           $100.00 PAID


The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that:

         interest requirement is waived.



                                                    FINE

         No fine imposed.

                                              RESTITUTION

         No restitution was ordered.


                                     SCHEDULE OF PAYMENTS

The special assessment in the amount of $100.00 has been paid in full.



CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
